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 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10

11   EBONY BALLARD an individual,            )            Case No.: 2:20-cv-2679
                                             )
12                                           )
                  Plaintiff,                 )
13                                           )            COMPLAINT FOR DAMAGES
                                             )            AND INJUNCTIVE RELIEF
14        vs.                                )
                                             )
15                                           )            (1) Hostile Environment Harassment;
                                             )
16   MEGAN J. BRENNAN, Postmaster            )            (2) Retaliation
     General of the United States of America )
17                                           )
                                             )            JURY TRIAL DEMANDED
18                Defendant.                 )
                                             )
19                                           )
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                                                  COMPLAINT
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 1           Plaintiff Ebony Ballard (“Plaintiff”), in support of his Complaint against
 2   Megan J. Brennan, Postmaster General, (“USPS” or “Defendant”), hereby alleges
 3   as follows:
 4   I.      NATURE OF THE ACTION
 5           1.     This is a civil action seeking judgment, relief and damages brought
 6   pursuant to Title VII of the Civil Rights Act of 1964 as amended, for employment
 7   discrimination. Equitable and other relief are also sought under 42 U.S.C. 2000e-
 8   5(g).
 9   II.     JURISDICTION AND VENUE
10           2.     Jurisdiction is specifically conferred on this Court by 42 U.S.C. §
11   2000e, et seq. and 28 U.S.C. § 1331.
12           3.     Venue in proper in this Court pursuant to 28 U.S.C. § 1391 because
13   the acts, events, or omissions giving rise to Plaintiff’s claims occurred in whole, or
14   in part, in the Central District of California.
15   III.    PARTIES
16           4.     At all times relevant herein, Plaintiff was employed by the USPS.
17           5.     Defendant Megan J. Brennan is the Postmaster General of the USPS
18   whose main office is located at 475 L’Enfant Plaza SW, Washington, D.C. 20260.
19   IV.     EEO ACTIVITY
20           6.     On or about May 7, 2019, Plaintiff made a sexual harassment
21   complaint to the USPS EEO counselor. On or about July 19, 2019, Plaintiff filed
22   her formal complaint against the USPS alleging sex discrimination and hostile
23   environment harassment, including sexual assault. On or about August 30, 2019
24   the USPS accepted an amendment of Plaintiff’s complaint to include a claim for
25   retaliation.    Following the USPS investigation of Plaintiff’s complaint, Plaintiff
26   requested a Final Agency Decision. On December 30, 2019, the USPS issued its
27   Final Agency Decision denying liability for any of Plaintiff’s claims. The decision
28   notified Plaintiff of her right to file suit against the USPS in federal district court

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                                                  COMPLAINT
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 1   within 90 days. Accordingly, Plaintiff has timely exhausted her administrative
 2   remedies required to file this Complaint.
 3   V.     FACTUAL ALLEGATIONS
 4          7.      Plaintiff worked as a clerk for the USPS in Torrance, CA. Plaintiff
 5   began work for the USPS on or about October, 2017. Shortly after Plaintiff began
 6   working for the USPS, a male USPS employee, Raul Wysinger, started to sexually
 7   harass her. Wysinger’s harassment continued during Plaintiff’s employment up
 8   until the time that Wysinger sexually assaulted Plaintiff on April 19, 2019.
 9          8.      By way of example and not limitation, Wysinger asked Plaintiff if he
10   could unhook a cellphone from her shirt. Wysinger told Plaintiff that she looked
11   good, that he liked her buttocks, that he wanted to feel her buttocks, that he wanted
12   to have sex with her, and that he wanted to get her into his truck to have sex with
13   her. Wysinger asked Plaintiff to have sex with him and asked her to go with him
14   into areas where there were no security cameras. Wysinger regularly made these
15   comments and solicitations when he was working with Plaintiff.
16          9.      Wysinger’s harassing comments were unwelcome. When Wysinger
17   made lewd comments about Plaintiff’s body or solicited her for sex, Plaintiff told
18   him to stop, tried to ignore him, or told him that he was going to get in trouble for
19   making the comments.
20          10.     Wysinger’s comments made Plaintiff very uncomfortable, made it
21   difficult for her to concentrate on the job, and caused her anxiety about coming to
22   work and about being placed in a situation where she was alone with Wysinger.
23          11.     In 2017 and 2018 Plaintiff complained about Wysinger’s conduct to
24   her USPS supervisors, but the USPS took no action to prevent Wysinger’s
25   harassment. In a nearly twenty-year career with the USPS, Wysinger did not know
26   what the USPS policy concerning inappropriate touching was. USPS supervisors
27   also knew that Wysinger was harassing other female employees but did nothing to
28   stop him.

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                                                  COMPLAINT
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 1          12.     On or about February 2019, Plaintiff was assigned to the Del Amo,
 2   California Station. The Del Amo Station is small. Only two clerks generally work
 3   there. Wysinger would stop by the station to pick up mail for his route. On April
 4   19, 2019, Plaintiff was working at the front counter with USPS clerk Jumah
 5   Williams who was also Plaintiff’s union representative. Plaintiff went into the
 6   backroom of the station to get stamps from the safe for a customer at her window.
 7          13.     Unknown to Plaintiff, Wysinger entered the backroom while she was
 8   standing at the safe. Wysinger grabbed her from behind, putting his arm across the
 9   top of her body and chest to restrain her, and asked Plaintiff if she had missed him.
10   Wysinger tried to kiss Plaintiff’s neck. Plaintiff told Wysinger to stop and tried to
11   break free. Finally, he let go and grabbed her buttocks with both hands. Plaintiff
12   yelled at him to leave and he left the backroom.
13          14.     Plaintiff returned to the front of the station and told Williams what
14   had had happened. Plaintiff attempted to work, but she was shaking and so upset
15   that she could not continue working. Plaintiff felt sick. She had to stop working
16   and went outside and threw up.
17          15.     Plaintiff was too upset to speak on the phone, so Williams reported
18   the assault to USPS supervisor Karla Arguello. Plaintiff was too upset to drive
19   herself to the main post office to report what had happened so Supervisor Arguello
20   had to come and transport her to the main post office. Plaintiff reported the assault
21   to Supervisor Arguello and Torrance Postmaster Debra Graham-Davis. Postmaster
22   Graham-Davis then sent Plaintiff home.
23          16.     The harassment Plaintiff suffered, including Wysinger’s assault, has
24   caused her substantial harm. Plaintiff was extremely distraught by the sexual
25   assault. Her anxiety caused her to have a car accident shortly after the incident.
26   Plaintiff continues to have anxiety and panic attacks at work. For example,
27   Plaintiff had a panic attack when she was subsequently alone at the Del Amo
28   Station and heard keys turning in the door. Plaintiff has had to seek medical

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 1   treatment and use leave time because of the assault and the accident that resulted
 2   from the assault. Plaintiff has suffered loss of enjoyment of life and her
 3   relationships with others have suffered.
 4          17.     When Plaintiff returned to work, she learned that Postmaster Graham-
 5   Davis had not reported the sexual assault to any postal authorities and had not
 6   conducted any investigation. Williams, who was also Plaintiff’s union
 7   representative told Plaintiff that he had been advised by other USPS managers that
 8   Plaintiff should make a report herself because Postmaster Graham-Davis did not
 9   care about what had happened and was not taking any action. This increased
10   Plaintiff’s anxiety because the USPS was not taking any steps to protect her from
11   future attacks from Wysinger.
12          18.     Plaintiff and Williams called the union vice-president who contacted
13   Postmaster Graham-Davis and Supervisor Arguello to inquire why no report had
14   been made. Plaintiff was so anxious that she had to leave work to go to the doctor
15   who subsequently took Plaintiff off work.
16          19.     On or about May 7, 2019, Plaintiff made a discrimination and
17   harassment complaint to the USPS EEO counselor. Postmaster Graham-Davis,
18   Supervisor Arguello, and, another supervisor, Alvaro Maldonado were aware that
19   Plaintiff had initiated the EEO process because, among others, they were
20   interviewed as part of it.
21          20.     As part of the informal complaint resolution process, Plaintiff elected
22   to try to resolve her differences through mediation. She learned from the EEO
23   counselor, however, that the USPS was denying responsibility for Wysinger’s
24   harassment, and it would be fruitless to mediate. Plaintiff resolved to continue in
25   the EEO process and requested that the EEO counselor send her the forms to file a
26   formal complaint. Plaintiff had to make several requests before she received the
27   formal complaint form from the EEO Counselor. Union representative Williams
28   warned Plaintiff that she was likely to suffer retaliation if she continued the process

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 1   and filed a formal complaint.
 2          21.     On or about June 20, 2019, shortly after Plaintiff finally received the
 3   form to file a formal complaint, Plaintiff learned that the USPS had changed her
 4   schedule. Post-Master Graham-Davis and Supervisor Arguello made the decision
 5   to change Plaintiff’s schedule. Previously, Plaintiff was scheduled to begin work
 6   at 9:00 a.m. The USPS changed her schedule to begin at 4:00 a.m. Plaintiff is a
 7   single mother with two small children. The change in schedule caused Plaintiff
 8   substantial hardship because the new schedule made it difficult for her to arrange
 9   childcare for her two small children. Not many childcare options are available at
10   3:00 a.m. when Plaintiff had to leave for work as compared to 8:00 a.m. when
11   Plaintiff left for work on her previous schedule. When Plaintiff explained to
12   Supervisor Arguello that the new schedule was causing her substantial hardship
13   because of her childcare issues, Supervisor Arguello responded, “Sounds like a
14   personal problem.” Supervisor Arguello refused to change Plaintiff’s schedule.
15          22.     Due to the new schedule, Plaintiff was forced to miss work on or
16   about June 27. When she returned to work, Supervisor Maldonado asked her why
17   she was absent on June 27. Plaintiff explained that she had been unable to arrange
18   childcare for that day. Supervisor Maldonado then loudly asked Plaintiff in front
19   of her co-workers if she wanted to resign.
20          23.     The USPS changed Plaintiff’s schedule to retaliate against her for
21   complaining about sexual harassment and for filing a formal complaint. The
22   USPS’s actions were calculated to punish Plaintiff, to coerce her to drop her
23   complaint, as well as force Plaintiff to quit or job or to attempt to terminate her if
24   she refused to quit.
25          24.     Among others, the retaliation caused Plaintiff additional anxiety and
26   emotional distress, caused her to use her leave to miss work, and caused her spend
27   additional money on childcare, caused her to miss seeing her small children off in
28   the morning, and the humiliation of being chastised in front of her co-workers.

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 1          25.     The USPS continues to employ Wysinger. At least one of Plaintiff’s
 2   supervisors has complained that Plaintiff is making it difficult for the agency
 3   because the USPS decided it cannot have Wysinger and Plaintiff working in the
 4   same location. In other words, the USPS is blaming Plaintiff for the consequences
 5   of a sexual assault that the agency failed to prevent.
 6                                  FIRST CAUSE OF ACTION
 7                       HOSTILE ENVIRONMENT HARASSMENT
 8          26.     Plaintiff incorporates the preceding paragraphs of the Complaint as if
 9   fully alleged herein.
10          27.     At all times relevant herein, the USPS was an employer subject to 42
11   U.S.C. § 2000e, et seq., including but not limited to 42 U.S.C. §2000e-16.
12          28.     Over more than a year long period, Plaintiff was subject to repeated
13   comments about her body, her sexual desirability, and solicitations for sex
14   culminating in Wysinger’s sexual assault on Plaintiff on or about April 19, 2019.
15          29.     The harassment was unwelcome. Plaintiff complained about it to her
16   supervisors, told Wysinger to stop, tried to ignore him and did her best to fight him
17   off when he assaulted her. Plaintiff immediately reported Wysinger’s attack.
18          30.     The conduct such as Wysinger’s sexual assault was sufficiently severe
19   and/or pervasive to alter the conditions of Plaintiff’s employment and created a
20   sexually abusive and/or hostile work environment.
21          31.     Plaintiff perceived the working environment to be hostile or abusive.
22   A reasonable woman in Plaintiff’s position would have considered the working
23   environment to be hostile or abusive.
24          32.     USPS supervisors knew or should have known of Wysinger’s
25   harassment both through Plaintiff’s complaints and other reports of Wysinger’s
26   sexually harassing conduct. Nevertheless, USPS failed to take prompt, effective
27   remedial action reasonably calculated to end Wysinger’s harassment. To the
28   contrary, in a nearly twenty-year career with the USPS, Wysinger did not know

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 1   what the USPS policy concerning inappropriate touching was. To date, Wysinger
 2   continues to work at the USPS even though the USPS concluded that he assaulted
 3   Plaintiff.
 4          33.     As an actual and legal, direct and foreseeable result of Defendant’s
 5   conduct, Plaintiff suffered and will suffer harm for which he is entitled to general
 6   and special damages, including but not limited to back pay and front pay and
 7   benefits, emotional distress damages and attorney fees, and costs.
 8                               SECOOND CAUSE OF ACTION
 9                                          RETALIATION
10          34.     Plaintiff incorporates the preceding paragraphs of the Complaint as if
11   fully alleged herein
12          35.     At all times relevant herein, the USPS was an employer subject to 42
13   U.S.C. § 2000e, et seq
14          36.     Plaintiff participated in activity protected under federal law and
15   opposed unlawful conduct when she, among others, reported sexual harassment to
16   her superiors and when she engaged in the EEO process including but not limited
17   to, filing a formal Complaint.
18          37.     After Plaintiff engaged in protected activities, the USPS subjected her
19   to adverse employment actions, including but not limited to, outing her as a victim
20   of sexual harassment, changing her schedule to a start time that made it difficult
21   for Plaintiff to arrange for childcare, and demanding to know if she wanted to
22   resign when she expressed that it was difficult to work her changed schedule.
23          38.     Plaintiff was outed as a sexual harassment victim only days after she
24   inquired why the USPS was not investigating her complaint. Plaintiff’s schedule
25   was changed less than a week after she received the forms to file a formal EEO
26   complaint. USPS changed Plaintiff’s schedule and pressured her to resign to
27   retaliate against her for participating in the EO process.
28          39.     Defendant took the above described actions against Plaintiff because

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 1   Plaintiff participated in the EEO process and because Plaintiff opposed an
 2   unlawful employment practice.
 3           40.    As an actual and legal, direct and foreseeable result of Defendant’s
 4   conduct, Plaintiff suffered and will suffer harm for which she is entitled to general
 5   and special damages, including but not limited to back pay and front pay and
 6   benefits, emotional distress damages (for anger, anxiety, depression, among
 7   others), and attorney fees, and costs.
 8           41.    Defendant’s unlawful employment practices described herein were
 9   willful, wanton, malicious and in reckless disregard of Plaintiff’s rights.
10

11   VII. PRAYER FOR RELIEF
12           WHEREFORE, Plaintiff prays for relief against Defendant as follows:
13           1.     For an award for back pay and benefits, including restoration of sick
14   and vacation leave, front pay and benefits, and any other general, compensatory,
15   and special damages, including but not limited to emotional distress damages,
16   according to proof;
17           2.     For attorneys’ fees and costs incurred in this action;
18           3.     For pre-judgment and post-judgement interest at the highest lawful
19   rate;
20           4.     For injunctive relief, including but not limited to an order directing
21   that all employees and supervisors at the Del Amo Station undergo documented
22   anti-harassment training;
23           5.     All other relief, whether legal, equitable, or injunctive, as this Court
24   deems just and proper;
25   Dated: March 23, 2020                  LAW OFFICES OF G. SAMUEL CLEAVER
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27                                          BY: /s/ G. Samuel Cleaver
28                                              G. Samuel Cleaver
                                                Attorneys for Plaintiff

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 1                                  DEMAND FOR JURY TRIAL
 2           Plaintiff demands a jury trial.
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 5   Dated: March 23, 2020                  LAW OFFICES OF G. SAMUEL CLEAVER
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 7                                           BY: /s/ G. Samuel Cleaver
 8                                               G. Samuel Cleaver
                                                 Attorneys for Plaintiff
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